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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


ALI BURGOS                                       Case Number 2: 16-cv-06338-JCJ
     Plaintiff

              vs.

TRANS UNION, LLC, et. al.
                                                                                      FILED
    Defendants                                                                        APR -5 2018
                                                                                  KATE BARKMAN. Ctetk
                                                                                Bv.       _Dep. Clerk
                             STIPULATION OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED, by and between the Plaintiff, ALI
BURGOS, and the defendant, CREDIT ONE FINANCIAL d/b/a CREDIT ONE BANK, N.A.,
that the above entitled action is hereby dismissed with prejudice as to CREDIT ONE FINANCIAL
d/b/a CREDIT ONE BANK, N.A., and without attorney's fees and costs against any party,
pursuant to Rule 41(a) of the Federal Rules of Civil Procedure.


                                                        Vullings Law Group, LLC

                                                 BY:    Isl Brent F. Vullings
                                                        Brent F. Vullings, Esq.
                                                        Attorney for Plaintiff
                                                        Ali Burgos


                                                        McGuire Woods, LLP

                                                 BY:    Isl Benjamin Sitter
                                                        Benjamin Sitter, Esq.
                                                        Attorney for Defendant
                                                        Credit One Financial
                                                        dlbla Credit One Bank, NA.


                                                        IT IS SO ORDERED.
